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   9                     UNITED STATES DISTRICT COURT
  10
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                               Case No. 8:22-cv-01434-SSS-KKx
  13   ANNETTE CODY,
  14                          Plaintiff,       ORDER DENYING WITHOUT
                                               PREJUDICE DEFENDANT’S
  15        v.                                 MOTION TO DISMISS
                                               PLAINTIFF’S SECOND
  16   BOSCOV’S, INC.,                         AMENDED COMPLAINT [Dkt. 50]
                                               AND ORDERING PLAINTIFF TO
  17                                           SHOW CAUSE.
                              Defendant.
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   1         The Court is in receipt of Defendant Boscov’s, Inc.’s motion to dismiss
   2   Plaintiff Annette Cody’s second amended complaint [Dkt. 48 (“SAC”)]. The
   3   motion is fully briefed [Dkt. 50 (Mot.); Dkt. 52 (Opp.); Dkt. 53 (Reply)] and
   4   was taken under submission without a hearing.
   5         Upon further review of the operative complaint, the Court finds Plaintiff’s
   6   allegations as to the amount in controversy insufficient to establish subject
   7   matter jurisdiction under the Class Action Fairness Act of 2005. The Court
   8   therefore ORDERS Plaintiff to show cause, on or before September 15, 2023
   9   as set forth below. In light of this order, Defendant’s motion to dismiss is
 10    DENIED WITHOUT PREJUDICE. [Dkt. 50]. The parties are DIRECTED
 11    to review Part IV, below, for further instructions.
 12                                     I. BACKGROUND
 13    A.    Plaintiff’s Causes of Action
 14          Plaintiff’s complaint asserts two causes of action under Sections 631(a)
 15    and 632.7 of the California Invasion of Privacy Act (“CIPA”). These claims
 16    arise from Defendant’s purported “interception” and “recording” of a
 17    conversation Plaintiff conducted through the customer chat function on
 18    Defendant’s website. Plaintiff seeks statutory damages on behalf of herself and
 19    a putative class comprised of:
 20              All persons within the state of California who within the statute
 21              of limitations period: (1) communicated with Defendant via the
 22              chat feature on Defendant’s Website; and (2) whose
 23              communications were recorded and/or eavesdropped upon
 24              without prior consent. [SAC at ¶ 24].
 25    B.    Statutory Damages Under CIPA
 26          Section 632.7(a) provides that “any person who has been injured by a
 27    violation of this chapter” may “bring an action against the person who
 28    committed the violation for the greater of” either “[f]ive thousand dollars

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   1   ($5,000) per violation” or “[t]hree times the amount of actual damages, if any,
   2   sustained by the plaintiff.”
   3                                  II. LEGAL STANDARD
   4         Federal courts have limited jurisdiction, “possessing only that power
   5   authorized by Constitution and statute.” Gunn v. Minton, 568 U.S. 251, 256, 133
   6   S.Ct. 1059, 185 L.Ed.2d 72 (2013). “The objection that a federal court lacks
   7   subject-matter jurisdiction ... may be raised by a party, or by a court on its own
   8   initiative, at any stage in the litigation[.]” Arbaugh v. Y&H Corp., 546 U.S. 500,
   9   506, 126 S.Ct. 1235, 163 L.Ed.2d 1097 (2006). “It is to be presumed that a
 10    cause lies outside [of a federal court's] limited jurisdiction, and the burden of
 11    establishing the contrary rests upon the party asserting jurisdiction.” Kokkonen
 12    v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted).
 13    Thus, although Defendant does not discuss subject matter jurisdiction in its
 14    motion to dismiss, the Court now raises the issue sua sponte.
 15          Plaintiff alleges subject matter jurisdiction under the Class Action
 16    Fairness Act of 2005 (CAFA). [SAC at ¶ 1]. CAFA provides federal district
 17    courts with original jurisdiction over class actions in which (1) the class
 18    members number at least 100; (2) at least one plaintiff is diverse in citizenship
 19    from any defendant, and (3) the aggregate amount in controversy exceeds $5
 20    million exclusive of interests and costs. Ibarra v. Manheim Investments, Inc.,
 21    775 F.3d 1193, 1195 (9th Cir. 2015).
 22                                     III. DISCUSSION
 23          Here, Plaintiff contends that subject matter jurisdiction is proper under
 24    CAFA because “there are 100 or more Class members,” “there is an aggregate
 25    amount in controversy exceeding $5,000,000, exclusive of interest and costs,”
 26    and “there is at least minimal diversity because at least one Plaintiff and
 27    Defendant are citizens of different states.” [SAC at ¶ 1].
 28          As to amount in controversy, Plaintiff asserts:

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   1         If only 1,000 California consumers interreacted with the chat
   2         feature on Defendant’s Website a single time during the Class
   3         period, statutory damages exceed $5,000,000. Upon information
   4         and belief, many times that number of consumers have interacted
   5         with Defendant’s chat feature during the Class period. [Id.].
   6         Because Plaintiff relies entirely on statutory damages to satisfy
   7   the amount-in-controversy requirement, her ability to establish subject
   8   matter jurisdiction depends on the sufficiency of her allegations as to
   9   the size of the putative class.
 10          Here, Plaintiff’s superficial description of Defendant’s business,
 11    website, and chat feature [see SAC at ¶¶ 5, 6] are insufficient to render
 12    plausible her claim that at least 1,000 California consumers visited
 13    Defendant’s website within the statutory period – let alone that they
 14    suffered the purported CIPA violations Plaintiff describes. See Byars
 15    v. Hot Topic, Inc., No. 22-1652, 2023 WL 2026994 at *5, 6 (C.D. Cal.
 16    Feb. 14, 2023). Absent concrete and particularized allegations as to the
 17    quantity and nature of Defendant’s online interactions through its chat
 18    function with California consumers, the Court cannot conclude that it
 19    has subject matter jurisdiction over this action.
 20                                      IV. CONCLUSION
 21          As such, the Court ORDERS Plaintiff to show cause as to why
 22    her complaint should not be dismissed for failure to adequately plead
 23    the requisite amount in controversy under CAFA.              Plaintiff is
 24    DIRECTED to file her written response on or before September 15,
 25    2023. Defendant may file a memorandum in opposition to Plaintiff’s
 26    filing on or before September 22, 2023. No reply brief will be
 27    accepted.
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   1         The Court further SETS a hearing regarding the order to show
   2   cause for September 29, 2023 at 1 P.M. via Zoom.
   3         Defendant’s motion to dismiss is DENIED WITHOUT
   4   PREJUDICE. [Dkt. 50]. Should the Court conclude that Plaintiff’s
   5   response supports its exercise of jurisdiction over this matter, it will
   6   issue a further order setting the deadline by which Defendant may file
   7   a renewed responsive pleading.
   8         IT IS SO ORDERED.
   9
 10    Dated: August 31, 2023
                                              SUNSHINE S. SYKES
 11
                                              United States District Judge
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